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~~ fulhaccount of her version of events.
1/11/2012|SD did some emotional, physical, and legal SP w/ CL because he is Safety
_____fstill calling her and she is talking to him b/c she pmisses him. Planning
1/11/2012|SD provided CL w/ emotional support throughout this process. Crisis
ee \Counseling
1/11/2012|SD s/w CL in-depth about her version of events (#of phone calls  {PA-Legal
and texts, what was said, the nature of the interactions w/ him, and
her intent during these interactions). Recorded CL's version of
events in a timeline format.
4/12/2012'KT s/w Audrey Moore, CHief of DV Bureau @ NYCo DA's office, to CJA-DA
inquire about case and raise issues of victim treated as perp. AM
requested email with identifying email: will follow up with her}
1/13/2012)SD sAw CL who called in on the HL. Follow Up
1/13/2012\SD offered CL emotional support b/c of how traumatized she was Crisis
yesterday over her attorney's conduct. \Counseling
4/13/2012|SD s/w CL about her decision to fire Kartegener and the possibility _|Info-Legal
of tapping into her resources at the Legal Aid office since she had a
_ {good feeling about them.
“4713/201218D siw CL about what the plea offer could mean for her and-that it-—jinfe-Legal
| __ilustrates a posible problem with the state's caS9.__ :
1 "4)43/20121SD did some SP w/ CL b/c she mentioned just waking up (3:15pm) Safety
| after taking sleeping pills the night pefore. She clarified that she Planning
a didn't try to overdose; she took them justto knock herout ; |
| 4/13/2012/SD called Lisa @ CVTC to update her on the case. No answer. Left |PA-Legal |
| __|vm requesting a call back. _ sal |
1/17/2012|SD called for Lisa @ CVTC again returning her vm. No answer, Left |PA-Legal
| vii jetting her know what happened wi ADA since she's meeting with
|____ [CL at 2pm today and asked her to cal me. _
! 4/19/2012|SD s/w CL who called in on the HL but she hung up when I tried to [Follow Up |
talk to her about leaving a vm on our phone rather than calling over |
land over again | informed her that we can't have someone call |
| incessantly and that | was planning on returning her message when |
| CL gol frustrated and hung up the phone. to |
| 1/19/2012/KT emailed Audrey Moore and Lisa Haileselassie re: case status CJA-DA |
; and advocating for dismissal. 5s _ | |
| 4/19/2012|SD s/w Lisa who called in returning my vm. Siw her about CL's case |PA-
| and the upcoming disorderly conduct hearing. _________bouns®ing
| 4749/2012|SD sent KT the info for CL's case and the info for RESP who then CJA-DA
| oe forwarded that info to Audrey Moore at the DA's office. 7
4/19/2012 (SB s/w Lisa who called in returning my vm. Siw her about CL's case |PA-Legal
| and the upcoming disorderly conduct hearing. -
4/19/2012(SD siw CL who called in on the HL but she hung up when | tried ta Info-Legal

 

talk to her about leaving a vm on Our phone rather than calling over

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fond over again. | informed her that we can't have someone call
incessantly and that | was planning on returning her message when |

CL got frustrated and hung up the phone. _

 

 

 

P4/49/2012

4/20/2012

IHL case they were helping us with,

 

SD called Lisa @ CVTC back returning her vm from earlier today.
No answer. Left a detailed vm about CL as well as about the other

 

PA-Legal "

ISD s/w CL who called in on the HL about yesterday's conversation.

_— ———4

Follow Up _|

 

1/20/2012

SD gave CL emotional support in response to her anxiety over the
criminal charges against her.

Crisis
{Counseling

 
   

 

1/20/2012

ISD s/w CL about the criminal charges pending against her and the
upcoming hearing on the disorderly conduct case.

Info-Legal

 

4124/2012

SD s/w CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

Info-Legal

 

 

4/24/2012

SD s/w CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

 

{Follow Up

 

4131/2012

we're still waiting on the outcome of that.

SD informed CL that we gave her info and the info of the case to the
SVB chief (Audrey Moore) in the DA's office a couple weeks ago and

Info-Legal

 

—jetia0Te

 

isp informed Cl that everr one-missed court date can resuitin-a

dismissal of her FC case against RESP, which is what happened.
However, she didn't show b/c Kartegener told her the wrong date
land they've given her until Mon to come back w/ a new attorney.

info-Legal—|.

 

"4731/2012

 

deal, then he didn’t have to formally offer it to her (it sounds like he
did not).

 

1/31/2012

1/31/2012

2/3/2012

13/2012

to the Bk Bridge” right now (basically providing an underlying
implication of suicidality).

to the Bk Bridge” right now (basically providing an underlying
implication of suicidality).

SD informed CL that if ADA Wells knew she wasn't going to take the info-Legal

SD s/w CL who called in on the HL very upset and threatening to “go Crisis

Counseling

ISD sfw CL who called in on the HL very upset and threatening to "go |Follow Up

 

that we only provided her name and the docket # of the case b/c
that's all they wanted. -

SD siw CL who called in on the HL about the pending crim charges.
Wanted to know what we "sent" to the DA's office and | informed her

Follow Up

—_

 

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|

 

 

SD shw CL who called in on the HL

that we only provided her name and the docket # of the case bic
that's all they wanted. 7

 

fa es

 

9/3/2012

2/6/2012

SD confirmed w/ CL that it would still be okay to present what she

SD called Lisa @ CVTC back returning her call re. status of CL's
case and advocacy with DA's office. _

 

about the pending crim charges.
Wanted to know what we "sent" to the DA's office and | informed her

gave us to the DA's office if they ask for it, She said that was fine.

Info-Legal

 

info-Legal

 

 

PA-Legal

 

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SD sAw CL who called in to update me on the case. = Follow Up
2/6/20121SD s/w CL about the pending crim case and her new Legal Aid Info-Legal
panies eee seaautaeeet ;
9/6/20121SD siw CL about meeting w/ her Legal Aid attorney. Will discuss wi |Info-Legal
KT and see if there is an appropriate meeting time this week (may
not be possible this week). _ - 7
2/7/2012|SD responded to CL’s email w/ corrected count info, docket #’s, and {Info-Legal
n explanation of what an ACD is for her formal complaint about the
IDA's Office.
9/7/20124SD siw Lisa who called re, the pending criminal charges and case /jPA-
evelopments. Lisa will be seeing CL later today for a counseling Counseling
ession. tees oes
9/7/20121SD responded to CL’s email wi corrected count info, docket #'s, and info-Legal
an explanation of what an ACD is for her formal complaint about the
DA's office.
2/7/20121SD responded to CL's email w/ corrected count info, dacket #’s, and jInfo-Legal

an explanation of what an ACD is for her formal complaint about the
DA's office.

 

| —— 97120421

an explanation of what an ACD is for her formal complaint about the
DA's office.

ISD:responded.to.CL's:email.wi.corrected.count info,.docket#s, and_[Follow-Up- ats

 

 

 

2/7/2012

 

2/7/2012

"9/7/2012

case and that she's preb concerned about that.

the formal complaint she's going to write about the DA's office's
handling of her case. | agreed to look at it.

 

 

 

+ 2/7/2012

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21812012

2/8/2012

not be true: it's highly unlikely the entire DA's office is involved (as
opposed to ADA Stroben and/or Wells).

SD s/w Lisa who called re. the pending criminal charges and case PA-Legal
developments. Lisa will be seeing CL later today for a counseling

session. 5 seen mamas <sennancniiaenicl imine ime
SD informed CL that Lisa @ CVTC called me re. updates on the Info-

Counseling |

SD provided CL my email address b/c she would like me to look over|info-Legal

SD informed CL that her theory as to overall office responsibility may info-Legal

 

SD s/w CL who called in on the HL w/ an update on the case. Her Follow Up

neighber is on the community board with an inspector at the 28th,

and the neighbor asked him what was going on wi CL's case. The

inspector allegedly stated that it was all the DA's office |
2/7/2012|SD provided CL w/ emotional support re. the new info she’s rec'd iCrisis

about the DA's office’s conduct in her case (according to an Counseling

inspector at the 28th precinct that is).

 

 

 

 

KT emailed Lisa Haileselassie and SD re: conversation with defense |PA-
attorney and gathering evidence, developing plan for crisis Counseling |
management, reporting on performance incourt, etc. __| |
KT emailed Tajuana Johnson w/ same info _ [PALegal _ |
 

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9/8/2012 KT emailed Lisa Haileselassie and SD re. nversation with defense |PA-Legal
attorney and gathering evidence, developing plan for crisis
management, reporting on performance in court, etc. _

 

 

 

 

‘T called Tajuana Johnson, CL's new defense attorney at Legal Aid, iPA-Legal
__ [and left message advising of who Lam and my role incase. x
9/3/2012\KT emailed Tajuana Johnson wi same info CJA-Other |

2/8/2012\KT called Tajuana Johnson, CL's new defense attorney, and CJA-Other
discussed situaton briefly. Discussed our role and the ways we can
support. She is interested in our working with Kelly to prepare
documents re: her victimization. | will reach out to SD and LH re:
preparing this evidence. .

3/8/2012)KT called Tajuana Johnson, CL’s new defense attorney at Legal Aid, CJA-Other
and left message advising of who | am and my role in case, ;

9/15/2012/SD met wi CL briefly at CVTC re. doc’s to bring to Friday's meeting Follow Up
wi Tajuana (e.g. records from glass companies, medical records
pom incidents identified on her timeline, etc.). CL stated that she's
- iscared about the trial and | validated her feelings about that.
2/1 5/2012{SD met w/ CL briefly at CVTC re. doc’s to bring to Friday's meeting _|info-Legal
—~- wil Tajuana.(e.g..records from.glass.companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

3/15/2012'SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting Crisis \
iw! Tajuana (e.g. records from glass companies, medical records Counseling
| from incidents identified on her timeline, etc,). CL stated that she's
| _ scared about the trial and | validated her feelings about! that
| 2/16/2012|SD called CL to remind her to bring the doctor's reports and receipts Follow Up
from the glass companies tomorrow. No answer. Left vm and also
emailed CL w/ the same request. Slee ae
2/16/2012'SD called CL to remind her to bring the doctor's reports and receipts |Info-Legal
from the glass companies tomorrow. No answer. Left vm and also |
‘emailed CL w/ the same request, __ - |
2/17/2012|KT met wi Lisa Haileselassie, Tajuana Johnson and CL to discuss {Follow Up |
icriminal case. Discussed strategy, prospects, useful ways to |
(

 

 

 

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r 9/8/2012
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i prepare. a a

2/17/2012 KT met wi Lisa Haileselassie, Tajuana Johnson and CL to discuss Safety

‘criminal case. Discussed strategy, prospects, ACD v. dismissal, Planning

_____jusseful ways to prepare. i mocinionsioatinn! |
 .2/17/2012|KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss PA-Legal |
| |criminal case. Discussed strategy, prospects, useful ways to
| Iprepare. iimeiaatagasa eeieecetonss

2/17/2012 KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case. PA-Legal |

‘Discussed outlook, position of prosecutor, attorney's impression of
idefense issues, Discussed ways we Can assist, victimization, etc.

 

211712012 KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case |Safety

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orney's impression of
defense issues. Discussed ways we can assist, victimization, battom
_— lines for CL re: safety and autonomy. _ oni!
9/47/2012\KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case. CJA-Other
Discussed outlook, position of prosecutor, attorney's impression of
jdefense issues. Discussed ways we can assist, victimization, etc. _ _—

9117/2012\KT met w/ Lisa Haileselassie, Tajuana Johnson and Cl to discuss |CJA-Other
criminal case. Discussed strategy, prospects, useful ways to
lprepare.
3724/2012\KT met wi CL and defense atty Tajuana Johnson. Discussed history [Crisis
of abuse and clarified facts from timeline. Discussed current charges |Counseling
against her and potential outcomes. KT and CL listened in to Tu's
phone call with ADA Wells. They have a recording of the OP
Jolation and therefore TJ feels she will not be offered Jower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
‘ll consider whether to accept ACD, TJ advised she intends to do a
full investigation. We will support however we can. —_

Do4)2012 11 met wi CL and defense atty Tajuana Johnson: Discussed history-|Safety———|—

of abuse and clarified facts from timeline. Discussed current charges |Planning
against her and potential outcomes. KT and CL listened in to TJ's
Iphone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will nat be offered jower than a
| Family ACD. Discussed future recourse for injustice of dropping
| charges against her. TJ offered to help bring a case against
| prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to doa
ful investigation. We will support however we can. Discussed safety
issues while she remains living next door ta perp w/o an active
jorder, which was dismissed 1/31/12. |

| 2/24/2012 |KT met wi CL and defense atty Tajuana Johnson. Discussed history |Follow Up |
jof abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
iphone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a |
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against |

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prosecutor for abuse of discretion. CL very upset at prospects and

| il consider whether to accept ACD. TJ advised she intends to do a

ull investigation. We will support however we can

2/24/2012 (KT met wi CL and defense atty Tajuana Johnson. Discussed history |CJA-Other

| of abuse and clarified facts from timeline, Discussed current charges

against her and potential outcomes. KT and CL listened in to TJ's
iphone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a

 

 

 

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will consider whether to accept ACD. TJ advised she intends to do a |

Family ACD. Discussed future recourse for injustice of drepping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and

full investigation. We will support however we can.

 

| 2/24/2012

of abuse and clarified facts from timeline. Discussed current charges

 

against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP

iolation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

KT met w/ CL and defense atty Tajuana Johnson. Discussed history PA-Legal |

 

~ 3/24/2012

 

 

9724/2012

I - ———a
| 2127/2012
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'2727/2012|SD advised CL to take her cues f

of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP

Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse cf discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.
Discussed right to file for another OP if necessary.

KT met w/ CL and defense atty Tajuana Johnson. Discussed history info-Legal

violationsand therefore TJ feels she-will not.be offered lower than 4}.

Iinfo-Family |

 

SD informed CL that | don't know how this is all going to play out, but
that the ADA has to prove that she had the intent to commit the i
crimes she's charged with

 

rom Tajuana and to let her handle

 

Sp siw Cl briefly but | had not spoken to KT yet about the meeting

SD s/w CL briefly but | had not spoken to KT yet about the meeting

i ts

 

 

 

; _jthe case.
| 2/27/2012
they all had on Friday (1 was out of town). Provided her w/ some
| emotional support and also discussed the statements the ADA
| : apparently made to Tajuana
| 2f2712012
they all had on Friday (| was out of town). Provided her w/ some
emotiona! support and also discussed the statements the ADA
| apparently made to Tajuana.
| 2/27/2012

SD s/w CL briefly but | had not spoken to KT yet about the meeting

\Info-Legal

 

———

\Info-Legal |

Crisis
Counseling |

 

they all had on Friday (| was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA

 

apparently made to Tajuana.

|
|

 

t /3/2/2012|SD siw CL who called in scared about the hearing on Tuesday. SD_ ICrisis

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;____Jpffered emotional support. ____.. (Counseling |
3/2/2012|SD siw CL who called back to ask about the ACD and her ability to {info-Legat
sue after the 1 yr time period is up. | confirmed what both KT and

Tajuana told her about this on Friday.

-"37972012/SD siw CL who called back to ask about the ACD and her ability to (Follow Up
sue after the 1 yr time period is up. | confirmed what both KT and
Tajuana told her about this on Friday.

3/2/2012|SD s/w Lisa @ CVTC about my conversation wi CL earlier today. PA.
Let her know that CL was pretty upset, but | was able to talk her Counseling
down.

3/2/2012\SD s/w Lisa @ CVTC who returned my call. Discussed the hearing |PA-Legal
on Tuesday and the fact that she might not be able to go. Also
discussed the 30/30, which is a no go bic Kartegener did ask for an
adjournment. _ een
3/2/2012iSD informed CL that | have no idea who the “phone expert" the ADA (Info-Legal
mentioned to Tajuana would be, but that Raheem has to confirm to
the court that the phone call came from CL on the alleged date after
the OP was issued.

"37272012 /SD-shw. GL about Raheem. showing up at the hearing on Tuesday to_|Info-Legal

vet the phone call for the contempt of court charge, and CL
reiterated that he won't be there. jf
| 3/2/2012\SD informed CL that the ADA has to prove 3 things: 1) that she Info-Legal
| committed the crime, 2) that she had the intent to commit the crime,

| and 3) these two things beyond a reasonable doubt.

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i } foe Service a
offered emotional support.

 

 

 

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3/9/2012|SD siw CL who called in scared about the hearing on Tuesday. SD [Follow Up
ioffered emotional support. _
Info-Legal

 

 

 

 

3/2/2012\SD informed CL that if this goes to trial, the ADA has to provide his
evidence to Tajuana who will have the opportunity to investigate all
iof it. _!
3/6/2012|SD s/w CL after hearing and advised her that it's essential that she Crisis
fisten to and trust Tajuana’s actions in court, Confirmed what \Counseling
Tajuana told her after court about how to act when in front of the

judge, and to let her make the plays. |
3/6/2012|SD s/w CL after hearing and informed her that when Tajuana info-Legal |
checked the calendar, she found that Kartegener had agreed to
each adjournment, so today is the first day of the 30/30 clock. This Is |

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why she needs to let Tajuana control what's happening in court (she
| was trying to push the next hearing back into April to run down the
clock) _ a
3/6/2012|SB went to IDV w/ Tajuana, Rammel (from CVTC), and CL for
icriminal trial hearing. People weren't ready. 30/30 time started,
Adjourned until 3/15/42.

 

 

PA-Legal

 

 

~3/6/2012|SD s/w CL after hearing and advised her that it's essential that she ‘yaetee

‘listen to and trust Tajuana’s actions in court, Confirmed what

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Tajuana told her
judge, and to let her make the plays. el |
3/6/2012|SD s/w CL after hearing about the irajectory of the case over the Info-Legal ;
past year from 300+ charges to an ACD to now not being ready

when Tajuana indicated she Is ready.

 

 

 

Hires

 

 

' 3/6/2012|SD went to IDV wi Tajuana, Rammel (from CVTC), and CL for CJA-DA
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12. ae
3/6/2012iSD went to IDV w/ Tajuana, Rammel (from CVTC), and CL for PA-
criminal trial hearing. People weren't ready. 30/30 time started. Counseling |

Adjourned until 3/15/42.

3/8/2012\KT sfw Tajuana, CL’s defense attorney. Discussed issues with the |PA-Legal
icase, potential responses to assist with the criminal charges.

 

 

 

 

 

 

3/9/2012|KT sAw CL and discussed what happened in court. Discussed [Follow Up
straying from plan, CL’s concerns with prosecution, etc. Did CC. |
3/9/2012 |KT siw CL and discussed what happened in court. Discussed Crisis
beeen _ {straying from plan, CL’s concerns with prosecution, etc. Did cc. Counseling
3/9/2012\KT s/w CL and discussed what happened in court. Discussed Info-Legal

=| straying from pian, Gi's-concerns with prosecution,.etc- lo — ——————

3/13/2012)KT s/w CL's social worker Lisa Haileselassie and discussed case. |[PA-
Discussed mental health issues and appropriate responses. jCounseling
Discussed ways to assist CL's attorney. |

3/13/2012/KT s/w CL's social worker Lisa Haileselassie and discussed case. CVTC
Discussed mental health issues and appropriate responses.
| Discussed ways to assist CL's attorney. - -
"3)43/20121KT s/w CL's social worker Lisa Haileselassie and discussed case. PA-Legal
Discussed mental health issues and appropriate responses.
Discussed ways to assist CLs attorney.

 

 

 

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 3/14/2012|KT met w/ CL and Tajuana Johnson: discussed cases. Discussed Crisis
defense for violation as well as disorderly conduct. Discussed issues [Counseling
with presentation in court, how to manage abusive and manipulative
| tactics by abuser, how to stay gafe during process. Did CC wi CL as
| she was extemely distressed by the conversation. Discussed plan
for upcoming court
KT met wi CL and Tajuana Johnson, discussed cases. Discussed Info-Legal
defense for violation as well as disorderly conduct. Discussed issues
| with presentation in court, how to manage abusive and manipulative
| ‘tactics by abuser, how to stay safe during process. Did CC w/ CL as :
| she was extemely distressed by the conversation. Discussed plan
__ fer upcoming court
/ 3/14/2012;KT met w/ CL and Tajuana Johnson, discussed cases. Discussed PA-Legal
| defense for violation as well as disorderly conduct. Discussed issues
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC wi CL as |

 

3/14/2012

 

 

 

 

 

 

 

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for upceming court

 

 

 

~~ 3/44/2012

 

KT met w/ CL and Tajuana Johnson; discussed cases. Discussed

with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC wi CL as

Ishe was extemely distressed by the conversation. Discussed plan

for upcoming court

Safety

defense for violation as well as disorderly conduct. Discussed issues |Planning

 

 

 

3/14/2012

KT met w/ CL and Tajuana Johnson; discussed cases. Discussed

with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC wi CL as

Ishe was extemely distressed by the conversation. Discussed plan

for upcoming court

defense for violation as well as disorderly conduct. Discussed issues

\Follow Up

 

3/14/2012

 

KT met w/ CL and Tajuana Johnson; discussed cases. Discussed

defense for violation as well as disorderly conduct. Discussed issues
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC wi CL as |

she was extemely distressed by the conversation. Discussed plan
ofupcoming.court.

CJA-Other

 

 

 

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3/15/2012

3/15/2012:

KT s/w CL who reported on court case. Raheem did not show up in
court again. Prosecutor requested an adjournment on the case and

the case bul understood the legal strategy.

 

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court again. Prosecutor requested an adjournment on the case and

the case but understood the legal strategy.

advised he still needed more time. CL distressed by the extension of

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Follow Up

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\Crisis

 

3/15/2012

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court again. Prosecutor requested an adjournment on the case and

the case but understood the legal stralegy.

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| 3/21/2012

3/21/2012

KT siw CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence, Atty
said she does not want to flush out the case before seeing what the
prosecutor has. CL and | discussed abuse issues and her efforts to
try to keep the situation under wraps Did safety planning and
discussed strategy for getting protection once this is over. CL
became very distressed during the conversation and ! tried to calm
her down a little bit. She is very worried about the ways her abuser
will use this against her in the future.

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Safety
Planning

 

Counseling |

Info-Legal |

Info-Legal -

 

 
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discussed strategy for getting protection once this is over. CL
became very distressed during the conversation and | tried to calm
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3/96/2012 KT s/w CL and discussed that | could not attend Monday's meeting.

 

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3/28/2012 KT s/w CL and discussed that | could not attend Monday's meeting.
‘CL understood. CL stated that she was receiving messages on her
"Kelly Price” phone line from a blocked number and she believed it
was Kenya Wells calling her. CL stated that the called said sexually
jexplicit things and was harassing her. She has received repeated
lmessages from this number. CL was very upset. Did a little CC.
[Discussed legal strategy and our potential role - will help to gather
. documents as her defense attorney sees fit.
3/26/2012|KT s/w CL and discussed that | could not attend Monday's meeting.
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"Kelly Price” phone line from a blocked number and she believed it
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3/21/2012

 

 

 

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Follow Up

Crisis

 

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Crisis
Counseling

Follow Up

Counseling

 

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__ documents as her defense attorney sees fit, pL
4/3/2012\SD s/w CL who called in with an update on court today. ADA Follow Up
announced he wasn't ready, and the case was adjourned until
5/23/12. Discussed with CL that WebCrims won't be reliable for
counting days b/c it's dependent on the judge's calendar. CL
lrequested call back from KT. ;
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counting days b/c it's dependent on the Judge's calendar. CL
jrequested call back from KT.

 

 

 

 

 

 

 

 

 

 

 

 

4/3/201 2|KT called back CL _ Follow Up __
4/3/2012|KT rec'd message from CL _____ Follow Up
4/4/2012/SD.consulted w/ Lisa at CVTC after shw.CL the day before re. _ |PA-Legal

charges pending against CL, CL working w/ her attorney instead of
around her, and how CL is coping with everything. :
4/4/2012\SD consulted w/ Lisa at CVTC after s/w CL the day before re. PA-

charges pending against CL, CL working w/ her attorney instead of j|Counseling
__jeround her, and how CL is coping with everything. |
4/4/2012 KT s/w CL and made plans for meeting with attorney - scheduled Follow Up
: tentatively fornext week. . .
4/4/2012 KT left message for CL scaacspeeterscamuninsnacemmuaniamnmase IE Follow Up
4/4/2012 KT s/w CL and made plans for meeting with attorney - scheduled Info-Legal
tentatively for next week.

 

 

 

 

 

 

 

 

 

 

 

 

4 6/2012 \KT rec'd message from CL inquiring about date of appointment |Follow Up |
GM6/2012iKT im for CL advising of appointment tomorrow at 4 “Follow Up _|
| Are 6/201 2|KT lim for CL advising of appointment tomorrow at 4 " |Info-Legal
| 4/16/2012 KT emailed CL's attorney to confirm appointment time ‘CJA-Other

 

| 4 6/2012 KT rec'd response from CL’s attorney advising she was out ofiown j|CJA-Other
and would check upon return _ a
4/17/2012 KT rec'd message from CL confirming appt Follow Up
[4/17/2012 KT left message for CL confirming appl. a Follow Up |
4/17/2012\|KT rec'd email from CL's attorney advising she can still meet at 4 |CJA-Other |
today if CL is available.

| 4/30/2012 |KT sfw CL and discussed housing court issues. Discussed eviction - |Crisis
process and strategies to respond. CL stated she has retained Counseling |
records and we discussed requesting a summary of allegations and |

 

 

 

 

 

 

 

 

 

 

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_ responding in turn to each with the evidence she has.
4/30/2012|KT s/w CL and discussed housing court issues. Discussed eviction |Info-
process and strategies to respond. CL stated she has retained Housing
records and we discussed requesting a summary of allegations and
| responding in turn to each with the evidence she has. a ea ll
4/30/201 2|Discussed pending criminal case and meeting - will meet tomorrow CJA-Other
at 4 with attorney. _
4/30/2041 2\KT s/w CL and discussed housing court issues, Discussed eviction jFollow Up
process and strategies to respond, CL stated she has retained
records and we discussed requesting a summary of allegations and
_|responding in turn to each with the evidence she has.
5/1/2012\KT attended meeting with CL at CL's attorneys office. Discussed Crisis
collection of evidence to establish victimization. Discussed Gounseling
evidentiary issues, legal relevance, defenses. Discussed issues with
prosecutorial misconduct - failure to pursue witnesses, étc. —
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collection of evidence to establish victimization. Discussed |
evidentiary issues, legal relevance, defenses. Discussed issues with
| [prosecutorial misconduct - failure to pursue witnesses, etc.
5/4/2012 KT left message for CL re: evidence collecting. Follow Up
| 5/4/2012 MM left message for CL. To collect more info on issues on case. \Follow Up
, 5/1 6/2012 |KT emailed CL's attorney re: criminal case and evidence collecting. _ CJA-Other
5/16/2012|KT rec'd response from CL's attorney advising no progress had been iC JA-Other
cecsasennwrncal ee cacti ee
| 5122/2012\KT rec'd email from CLs attorney advising that the 30-30 deadline |CJA-Cther |
ee had run out according to her information. _ a 3
5/22/2012|KT replied to CLs attorney viaemail, __ (CJA-Other_ |
5/24/2012|SD s/w CL again who called back to say that she was able to find Follow Up |

the case on WebCrims. | tried again and found it too. Case
ecntinued to 6/6/12. Verified to CL that | could find it, and suggested

 

 

that | probably couldn't find it this morning b/c the site hadn't update?

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5/24/2012ISD siw CL again who called back to say that she was able to find [Crisis
the case on WebCrims. | tried again and found it too. Case Counseling

yet.

| §/24/2012ISD called Lisa @ CVTC to verify the charges were dropped, No. PA-Legal

 

answer. Left vm.

 

ee te SS

 

continued to 6/6/12. Verified to CL that | could find it, and suggested
that t probably couldn't find it this morning b/c the site hadn't updated |
yet.

 

  

 

 

-"5724/2012SD s/w CL again who called back to say that she was able to find __|Info-Legal

the case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested
that | probably couldn't find it this morning b/c the site hadn't updated
yet.

 

5/24/20121SD s/w CL who called in about what happened in the hearing |Foltow

yesterday. Informed her of what I told Lisa about the WebCrims info,
but also that this doesn't mean the case was dismissed. It's possible
the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
lyesterday's hearing. —

Up

 

 

 

' ~§/30/2012|SD s/w CL briefly at CVTC and discussed the CC case. Cl believes [Crisis
the case will be dropped b/c her attorney assured she would file the {Counseling |

ee

5/30/2012|SD siw CL briefly at CVTC and discussed the CC case. CL believes \Info-Legal

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Ea0TISD Sw CL who called ih about what happened In the hearing |Info-Legal—

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5/24/2012|SD s/w CL who called in about what happened in the hearing Crisis

 

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the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
yesterday's hearing.

5/29/2012 |KT s/w CL and discussed court case. She believes that her case will

be dismissed based on speedy trial requirements. CL's attorney will |
file a motion to dismiss on that basis. Explained to CL that once the
motion to dismiss is filed the prosecutor will have the opportunity to
reply and the cas

motion to dismiss. Advised CL to be patient and follow her altorney’s |
lead.

the case will be dropped b/c her attorney assured she would file the
motion to dismiss. Advised CL to be patient and follow her attorney's
lead.

 

 

 

5/30/2012|SD siw CL briefly at CVTC and discussed the CC case. Cl believes Follow

=————— —

yesterday. Informed her of what | told Lisa about the WebCrims info, Counseling

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]
|
!

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Up |

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"5/31/2012

ithe case will be dropped b/c her attorney assured she would file the
motion to dismiss. Advised CL to be patient and follow her attorney's

jead,

SD informed CL that in regards to getting her bail back, she will need
iD but she should also discuss that w/ Tajuana to get a better idea of
how that will all work out.

 

info-Legal _

 

 

5/31/2012

SD s/w CL who called back returning my vm. She said that Tajuana
filed the motion to dismiss today, and is trying to get a clerk to look
at it today (she’s unsure if she can pull that off). CL will keep us
posted.

 

Follow Up

 

 

"5/31/2012

SD called CL back returning her messages from this morning. No
answer. Left vm.

Follow Up

 

6/6/2012

KT emailed CL's attorney in response.

CJA-Other

 

6/6/2012

IKT called CL and left message advising atty was aware of situation. |Follow Up

 

6/6/2012

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KT rec'd email fram atty advising she had heard the case got called
and re: CL's reaction. ;

aasidieieieag

CJA-Other

 

 

"6/6/2012

|KT emailed CL's attorney to see where she was.

“eiacOiner

 

6/6/2012

 

| 6/6/2012

"6/6/2012

(6/6/2012
|

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'

‘judge called the case, knowing she was not present’ The case g ot

IKT s/w CL who called in crisis. Her attorney was late to court and the

adjoumed for two months. CL is very fearful of what will happen and
stressed over trying to manage this case and the pressure from
Raheem. Discussed options; she is considering trying to fire Tajuana
and represent herself today so that the hearing will be heard.

KT s/w CL who called in crisis. Her attorney was late to court and the
judge called the case, knowing she was not present. The case got
adjourned for two months. CL is very fearful of wnat will happen and
stressed over trying to manage this case and the pressure from
Raheem. Discussed options; she is considering trying to fire Tajuana
and represent herself today so that the hearing will be heard,

 

Info-Other

Info-Lega I

 

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judge called the case, knowing she was not present. The case got
adjourned for two months. CL Is very fearful of what will happen and
stressed over trying to manage this case and the pressure from
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and represent herself today so that the hearing will be heard.

Crisis
Counseling

 

 

KT s/w CL who called in crisis. Her attorney was late to court and the
judge called the case, knowing she was not present. The case got
adjoumed for two months, CL is very feartul of what will happen and
stressed over trying to manage this case and the pressure from
Raheem. Discussed options; she is considering trying to fire Tajuana
and represent herself today so that the hearing will be heard.

Follow Up

 

~ 6/6/2012

~ 6/43/2012|SD explained that if her defense attorney had known about the cert. |
of readiness, then the mixup over what time the hearing was at _

Info-Legal

 

KT called CL and Jeft message advising atty was aware of situation.

 

info-Legal

 

 

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wouldn't have even happen
have happened making what transpired that morning
inconsequential. _

 

5743/2012 'SD siw CL about her wish to fire her defense attorney and represent |Info-Legal

herself. Informed her that | did not think this was a good idea.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6/13/2012|SD informed CL that there may be a number of explanations as to Info-Legal
why her defense attorney did not have the cert. of readiness before
she decided to file a motion to dismiss. ccmomanisall
6/13/2012/SD tried to SP w/ CL in the context of the criminal case, but CLis {Safety
fs ipretty ‘set on representing herself. __ Planning
6/13/20121SD advised CL that | believed she would have a very difficult time — |Info-Legal
finding a 3rd attorney to take the case if she fired her current
attorney. -
6/13/2012|SD informed CL that | believed ADA Wells would refuse to work w/__|Info-Legal
her if she represented herself in court. :
6/13/2012\SD s/w CL about her upcoming appt with the ‘Gender & Sexuality’ —_jInfo-Legal
clinic at Columbia Law. Informed her that | didn't think a law school
clinic would take her case.
—=6/13/2012|SD provided-emotional-supportto.CL.__ a jCrisis
_ Counseling
6/13/2012|SD wi CL on the phone at CVTC. She decided to call instead of Follow Up
coming in for her appt. 7
6/13/2012\SD informed CL that | did not believe Judge Dawson would let her __|Info-Legal
| represent herself, but CL said she didn't care. . |
6/18/2012 |KT rec'd message from CL Follow Up |

 

"6/18/2012 ISD sAw CL who called in extreme crisis. She was yelling (sometimes [Follow Up

inaudible) and saying that she gota text message from the defense
attorney on the disorderly conduct saying he wouldn't be able to
represent her anymore and she is due in court tamorrow at 9:30am.

 

 

 

6/18/2012

 

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believed her attorney would not show up at court tomorrow - Ben

Dell of Legal Aid who is representing her in the disorderly conduct
case. Discussed criminal issues and her 6th amendment rights to
counsel.

KT called CL and discussed ‘criminal case. She was pretty upset and |Info-Legal

 

 

6/18/2012 KT s/w Ben Dell and discussed criminal case. He will appear on CL's CJA-Other

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behalf tomorrow. Discussed various issues with representation.

 

5/18/2012|SD instructed CL to call her SW @ CVTC or the main line at CVTC

so that they can help her through this. CL was extremely escalated
and talking about not being alive tomorrow. SD was able to help CL
construct an immediate SP in order to come down from her

escalated state

 

| 6/18/2012ISD instructed CL to call her SW @ CVTC or the main line at CVTC
iso that they can help her through this. CL was extremely escalated _

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Counseling |

 

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Counseling |

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| Type of —

and talking about not being alive tomorrow. SD was able to heip CL

construct an immediate SP in order to come down from her

- escalated state, |
6/18/2012|SD advised CL that she is legally entitled to counsel at a CC trial, so |Info-Legal

if Legal Aid is, in fact, pulling themselves from the case, then she will

need to request a new attorney in court.

6/18/2012/SD instructed CL to call her SW @ CVTC or the main line at CVTC [Safety
so that they can help her through this. CL was extremely escalated (Planning
and talking about not being alive tomorrow. SD was able to help CL
construct an immediate SP in order to come down from her
- ___fescalated state.

6/18/2012\KT called CL and discussed criminal case. She was pretty upset and |Crisis
believed her attorney would not show up at court tomorrow - Ben Counseling
Dell of Legal Aid who is representing her in the disorderly conduct
case. Discussed criminal issues and her 6th amendment rights to
t counsel. . . —

6/27/2012|SD sw CL briefly about Legal Aid and what happened with the Follow Up
disorderly conduct hearing a few weeks ago, CL was allegedly
informed by Ben Dell @ Legal Aid that they were not representing
her anymore and that she would be by herself. Thatdid not happen-}~ ——
though. sais a

6/27/2012\SD reiterated what KT said earlier about criminal cases and her right Info-Legal
to an attorney. Tried to ease her fears that she will show up to the
next hearing w/o an attorney and w/o any knowledge that she would
be unrepresented. _

 
 
   
 

     

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~~ 6797/2012/SD siw CL briefly about Legal Aid and what happened with the Crisis |
disorderly conduct hearing a few weeks ago. CL was allegedly Counseling

| informned by Ben Dell @ Legal Aid that they were not representing
her anymore and that she would be by herself. That did not happen |
though, _ oo
Co 6/27/2012'SD s/w CL briefly about Legal Aid and what happened with the Info-Legal
{ disorderly conduct hearing a few weeks ago. CL was allegedly |
informed by Ben Dell @ Legal Aid that they were not representing |
her anymore and that she would be by herself. That did not happen
though.
| 7/23/201 2'KT called attorney to try te find out about court appearance CJA-Other |
tomorrow - left message.

" 7/23/2012|KT siv CL who called in crisis after learning her defense atty lInfo-Other |
| (Tajuana Johnson) had been in a car accident and was currently i
| nespitalized. She has court tomorrow morning and is very concerned
about what will happen. She advised she obtained a transcript of the |
| hearing that reveals her attorney who was present in courtonthe =|

 

 

 

day the Cert of Readiness was filed was NOT her attorney of record. |
Discussed issues. Discussed court tomorrow.

 

 

"7723/2012 (KT siw CL who calted in crisis after learning her defense atty Info-Legal

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= Service Notes

 

 

 

 

(Tajuana Johnson) had been In a Car accident and was currently
nospitalized. She has court tomorrow morning and is very concerned
about what will happen. She advised she obtained a transcript of the
hearing that reveals her attorney who was present in court on the

day the Cert of Readiness was filed was NOT her attorney of record.

Discussed issues. Discussed court tomorrow.

 

[ 7/23/2012 Disc safety threats and planning.

Planning

Safety |

 

 

Fa3D01BIKT sw CL who called in crisis after learning her defense atty — _

(Tajuana Johnson) had been in a car accident and was currently

about what will happen. She advised she obtained a transcript of the
hearing that reveals her attorney who was present in court on the
day the Cert of Readiness was filed was NOT her attorney of record.
Discussed issues. Discussed court tomorrow.

hospitalized. She has court tomorrow morning and is very concerned

Follow Up

 

I 393/201 21KT siw CL who called in crisis after learning her defense atty 7

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about what will happen. She advised she obtained a transcript of the

day the Cert of Readiness was filed was NOT her attorney of record.
Discussed issues. Discussed court tomorrow.

hospitalized. She has court tomorrow morning and is very concerned

iCrisis
Counseling

-jhearing-that reveals -her-attorney who.was present.inicourt.onthe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7/26/2012'SD called CL to s/w her about my last day (August 3rd) and the Follow Up
conclusion of the CC case against her. All of the DV charges were
dropped, but there was no indication as to why they were dropped.
—_|No answer. Leftvm. > ;
| 7/26/2012|SD called CL to siw her about my last day (August 3rd) and the Info-Other
| conclusion of the CC case against her. All of the DV charges were
dropped, but there was no indication as to why they were dropped.
| ccmesieevaronseee No answer. Leftvm _ -
 -7/30/2012|SD offered CL emotional support. She wants to file a lawsuit against Crisis
_— the city and the DA's office. 7 Counseling _
| 7130/2012|SD informed CL that Friday (8/3) Is mylastday, Info-Other
~ 3730/2012|SD asked CL if she'd been given a reason for why the case was Info-Legal
dropped. She said she didn't know, and | informed her that we don't
| ____jknoweither, ‘
7/30/2012 SD siw CL who called in on the HL returning my vm from 7/26, Follow Up |
__10/8/2012)KT rec'd message fromCL - oo Follow Up |
'  10/8/2012|KT left message for CL, returning her call. ____|Follow Up
| 11/30/2012)|KT rec'd message from CL _ Follow Up

 

43/6/2012 |KT shw Det. Galan at 20th Pct and discussed case - he explained the |CJA-Police

reasons for the delay and that he was having a hard time with CL
because he felt she would get upset and accusatory. We discussed

 

case, his concerns and intentions and he reassured me that he was

 

 

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4216/2012

"42/6/2012

 

very eager to get an arrest on this case and help the client. He
explained his intentions for today and gave me contact info for the
prosecutor on the case - ADA Bernard at DANY. nin
KT called CL and relayed conversation with Det. Galan; She is going
to go down to the station and do the photo lineup and call me to let
me know how it goes.

 

Info-Legal

 

KT s/w CL and discussed current issues with law enforcement. CL.
was assaulted in August by a stranger in a bar and heard he was
arrested, but has gotten mixed messages. She is uncertain about
whether she should trust the detective she was working with, who
has now asked her to come in to do a photo line up. |! agreed to
reach out to him - Detective Galan at the 20th Pct., (212)580-6414

Follow Up 7

 

40/6/2012

KT s/w CL and discussed current issues with law enforcement. CL
was assaulted in August by a stranger in a bar and heard he was
arrested, but has gotten mixed messages. She is uncertain about
whether she should trust the detective she was working with, who
has now asked her to come in to do a photo line up. | agreed to
reach out to him - Detective Galan at the 20th Pct., (212)580-6414

 

12/6/2012

KT s/w Det. Galan at 20th Pct and discussed case - he explained the
reasons forthe délay and that he was having hard time with CE—
because she would get upset and accusatory. We discussed case,
his concerns and intentions, and he reassured me that he was very
eager to get an arrest on this case and help the client. He explained
his intentions for today and gave me contact info for the prosecutor
on the case - ADA Bernard at DANY.

Crisis
Counseling

CJA-Police |

 

 

 

 

12/6/2012

~ 42/6/2012

| 12/6/2072 |KT s/w CL and discussed current issues with law enforcement. CL

was assaulted in August by a stranger in a bar and heard he was
arrested, but has gotten mixed messages. She is uncertain about
whether she should trust the detective she was working with, who
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arrested, but has gotten mixed messages, She is uncertain about
whether she should trust the detective she was working with, who
has now asked her to come in to do a photo line up. | agreed to
reach out to him - Detective Galan at the 20th Pet., (212)580-6414

 

 

| 42/12/2012

AADA may have chosen to pursue felony assault against an office
charges instead of the assault charges she’s attempted to file
against the individual in question (who'd assaulted her in an UWS

SN discussed CL’'s most recent case with her and discussed why the

Info-Legal

 

\Follow Up |

|
current issues with law enforcement. CL ~ [Safety |
t

Planning

linfo-Legal |

 

 

bar by punching her in the mouth).

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Case 1:15-cv-05871-KPF Document 41-5 Filed 01/03/17 Page 19 of 39

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Seeege eae pee eae apres eee
3/12/2012 SN reviewed details of CL's OVS application briefly with Veronica
and discussed her filing- specifically the amount she'd filed for, the Application
materials she was able to gather to make the claim (there'd been
difficulty accessing DIRs from the 28th precinct) and how she'd
utilize said funds.

42/12/2012 SN wrote a letter to CL's landlord attesting to the filing of her OVS j{PA-CVB
application, with the hopes that this would assist her in disputing her
_._. impending eviction. eae _ sachet =
42/12/2012\SN met with CL at CVTC. Stated that she would like a letter for her iCVTC |
landlord stating she'd filed an OVS claim for the amount of $15,000. |
Additionally, CL. worked to brief me on her present circumstances-, |
living next door to PERP, receiving threatening phone calls from
unidentified women, being physically attacked in her neighborhood,
and falling behind in her rent in amount close to $40,000.

42/12/20121SN met with CL at CVTC. Stated that she would like a letter forher |Safety
landlord stating she'd filed an OVS claim for the amount of $15,000, jPlanning
Additionally, CL worked to brief me on her present circumstances-,
living next door to PERP, receiving threatening phone calls from
unidentified women, being physically attacked in her neighborhood,

 

   

 

 

 

 

 

12/12/20121SN met with CL at CVTC. Stated that she would like a letter forher Crisis |
landlord stating she'd filed an OVS claim for the amount of $15,000. |Counseling

Additionally, CL worked to brief me on her present circumstances-,

living next door to PERP, receiving threatening phone calls from

| unidentified women, being physically attacked in her neighborhood,

and falling behind in her rent in amount close to $40,000 |

~~ 42/12/2012|SN met with CL at CVTC. Stated that she would like a letter for her (Follow Up
landlord stating she'd filed an OVS claim for the amount of $15,000, |

| Additionally, CL worked to brief me on her present circumstances-,
living next door to PERP, receiving threatening phone calis from
unidentified women, being physically attacked in her neighborhcod,
and falling behind in her rent in amount close to $40,000.

| 42/12/2012|KT emailed Audrey Moore to check in - advised | wanted to speak CJA-DA
with her about the case

 

 

 

 

 

i

| 1/10/2013 KT s/w CL's counselor Lisa Haileselassie re: various issues with the |PA-
case. Discussed allegations that 28th Pct won't take reports - we Counseling
strategized and decided to approach Audrey Moore again about the
i precinc/DANY issue.

1/10/2013 |KT s/w Audrey Moore who advised she had not instructed, norhad |CJA-Police
her office, anyone not to take a report from CL. She discussed this
| issue with the captain who agreed they had not been instructed ta do |
that. They will make sure officers are advised. |

=

 

 

 

[1/10/2013|KT siw Cl and advised | had some updates. CL will call me back [Follow Up
tomorrow.

1/10/2013 KT siw CL's counselor Lisa Haileselassie re: various issues with the IPA-Other _ |}

 

 

 

 

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_land-failing-behind-in-her-rent-in-amount.close to. $40,000. = ee eee
Case 1:15-cv-05871-KPF Document 41-5 Filed 01/03/17 Page 20 of 39

Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 40 of 40

 

 

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istrategized and decided to approach Audrey Moore again about the
at precincl/DANY issue. _ Se -
1/10/2013/KT s/w CL's counselor Lisa Haileselassie re: various issues with the
case. Discussed allegations that 28th Pet won't take reports - we
strategized and decided to approach Audrey Moore again about the
precinct/DANY issue.

Follow Up

 

 

 

4/10/2013\KT s/w Audrey Moore who advised she had not instructed, nor had

that. They will make sure officers are advised.

her office, anyone not to take a report from CL. She discussed this
issue with the captain who agreed they had not been instructed to do

CJA-DA

 

 

 

 

 

 

 

 

4/11/2013)KT rec'd message from CL iFollow Up
~ 4/41/2013|KT referred CL to VOW Referral-
Other
1/11/2013)KT called CL and discussed issues. Discussed conversation with iInfo-Legal
udrey Moore at DANY (see above) -
- linfo-Other

rosecution. Discussed structural issues with crimes of violence

gainstwomen..ete, Discussed current organizign efforts

1/1 a s/w CL and discussed organizing around this issue with
ip

 

 

 

2/26/2013

KT left message for CL to follow u
efforts to reach VOW. _

p with her DV non profit efforts and|info-Other

 

 

 

 

2126/2013

efforts to reach VOW. |

 

 

 

3/15/2013

 

3/15/2013

3/16/2013

3/16/2013

3/19/2013

3/19/2013

KT rec'd email from CL re request to speak with Normal! Siegle; she
is pursuing civil relief for the improper treatment of the DA's cffice
and NYPD and he is considering taking her case.

KT rec'd email from CL re’ request to speak with Normal Siegle; she
is pursuing civil relief for the improper treatment of the DA's office
and NYPD and he is considering taking her case.

KT replied to CL to advise that | would speak to Mr, Siegle on her
behalf. | advised the limitations of my ability to speak to her story
because of the limited personal knowledge | have.

KT replied to CL to advise that | would speak to Mr. Siegle onher —
behalf. | advised the limitations of my ability to speak to her story
because of the limited personal knowledge ! have.

 

KT left message for CL to follow up with her DV non profit efforts and Follow Up

Follow Up

 

info-Legal

Follow Up

 

info-Legal

 

 

 

| believed she is the victim of abuse, that| did think she was treated
in an extreme manner by NYPD and the DA's office but | could not
speculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims in cases.

KT siw civil rights attorney extensively about CL's case. Advised that (CJA-Other |

| believed she is the victim of abuse. that | did think she was treated

 

in an extreme manner by NYPD and the DA's office but | could not

KT siw civil rights attorney extensively about CL's case. Advised that |CJA-DA

 

 

 

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Spurn hares ee
speculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims In cases.

 

 

 

 

| 3/19/2013 KT s/w civil rights attorney extensively about CLs case. Advised that |PA-Legal

| believed she is the victim of abuse, that | did think she was treated |
in an extreme manner by NYPD and the DA's office but | could not |
speculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims incases.
3/29/2013|KT s/w CL and discussed Siegle's choice to dectine representation, | |Info-Other
gave her my opinion on why he decided as he did. CL was very
upset, distressed. Discussed other options, did some counseling,

 

 

 

 

 

 

 

leic.
3/29/2013|KT made referral to Emerson, Celli et al to screen client for civil Referral-
rights claim. ee Other

 

 

3/20/013/KCT siw CL and discussed Slegle's choice to decline representation. | info-Legal
gave her my opinion on why he decided as he did. CL was very
upset, distressed. Discussed other options, did some counseling,

 

 

 

| etc.
| ——""3/29/2013|KT siw CL and discussed Siegle's choice fo decline representation, I'|Crisis~
gave her my opinion on why he decided as he did. CL was very Counseling
upset, distressed. Discussed other options, did some counseling,
etc.

 

 

| ~ 3/29/2013 KT siw CL and discussed Siegle's choice to decline representation. | Follow Up 7
gave her my opinion on why he decided as he did. CL was very {
| upset, distressed. Discussed other options, did some counseling, |

etc. {

 

 

 

 

| 3/29/2013)KT rec'd email from CL inquiring about s/w Siegle. _ ~~~ Follow Up
| 3/29/2013]KT rec'd message from CL _ - _ Follow Up _|
7/8/2013|KT rec'd message from CL Follow Up

 

 

7/9/2013\KT sfw Audrey Moore about the case - she advised that CL had CJA-DA
cncomeancnsnmart eo eneg Nets scssias|
| 7/0/2013|KT s/w CL and discussed current issues. CL stated she received a_ Follow Up
| sall from an ADA who said she was following up on the criminal case
| from last fall - when CL was punched in the face by a stranger. Read |
| Cl. my notes from my phone call to Det. Galan. She requested | i
| send them. CL advised she was no longer receiving services from |
| CVTC -| suggesed | make another referral but CL declined for now. |
| ____|Gave emotional support, |
'” 7710/2013\KT s/w CL and discussed current issues. CL stated she received a Info-Legal |
| call fram an ADA who said she was following up on the criminal case |
from last fall - when CL was punched in the face by a stranger. Read |
CL my notes from my phone call to Det. Galan. She requested |
‘send them. CL advised she was no longer receiving services from

 

 

 

 

 
 

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7110/2013

7/10/2013

CVTC -| suggesed make another referral

7/10/2013}

but CL declined for now. |
Gave emotional support.
KT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case
from last fall - when CL was punched in the face by a stranger. Read
CL my notes from my phone call to Det. Galan. She requested |
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call from an ADA who said she was following up on the criminal case
from last fall - when CL was punched in the face by a stranger. Read
CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services from
CVTC -| suggesed | make another referral but CL declined for now.
Gave emotional support. _

 

KT rec;d message from CL requesting reminder on the conversation
| had with Det. galan in December of last year.

 

7/10/2013

 

7/46/2013

from last fall - when CL was punched in the face by a stranger. Read

KT s/w CL and discussed current issues. CL stated she received a 7
call from-an ADA who said:she was following up-on the criminal.case

CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services fram
CVTC -| suggesed | make another referral but CL declined for now.
Gave emotional support.

info-
Counseling}:

 

linfo-Other

—aree

 

Crisis
Counseling

oe B

Follow Up

 

KT rec'd message from CL stating she met with ADA today and they

 

want to move forward with the charges against the man who
CL gave ADA Iny contact information

 

' 7/16/2013
| 7/16/2013

1/17/2014

 

KT left message for C So
IKT rec'd message from CL stating she met with ADA today and they
want to move forward with the charges against the man who

assaulted her last fall. CL gave ADA my contact information
IKT rec'd message from CL - unable to hear her new number

 

1123/2014

4/24/2014

- 1/24/2014)KT called CL and left message advising that | thought an OP would |Follow Up

14/24/2014

IKT rec'd message from CL re: needing to file for an OP against
Raheem.

KT called CL and left message advising that ! thought an OP would
be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction
she wants to go in. Otherwise, call me Tuesday.

be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction
ishe wants to go in, Otherwise, cali me Tuesday.

 

 

Info-Legal

Follow Up

Follow Up

info-Family
Court

 

KT called CL and left message advising that | thought an OP would [Foilow Up

 

|

[Follow Up_|
Follow Up

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"9/19/2014!

be challenging. Advised | will not be in on M
helpline to process options for filing for an OP if that's the direction
she wants to go in. Otherwise, call me Tuesday.

rerodeewenr

KT rec'd BCC'd email from CL to ADA Reichfelder re.
forward with the case.

 

onday but to call the

 

moving

 

2/19/2014

KT replied to CL's email inquiring about the case wi DANY

Follow Up

info-Legal

 

2/20/2014}

KT rec'd message from CL

Follow Up _

 

 

2/20/2014

KT called CL back and left message re: following up on criminal
court issue w/ DANY

Follow Up

 

9/20/2014KT replied to CL's email inquiring about the case wi DANY

“Follow Up

 

2/20/2014

KT called CL back and leit message re: following up on criminal
court issue w/ DANY

Info-Legal

 

2/24/2014

 

KT called CL back and advised

 

212412014

"2/24/2014

 

9724/2014

with Cl’s friend who she spent the night with. CL has asked her

reach out to explain the role of a witness and assure friend he wont
———Igel In trouble. Advised’ Ct that’) could-speakto-herfriend-about-the-

ADA wants to move forward on the criminal case but needs to speak

KT s/w CL and discussed current criminal case. CL advised that the
DA wants to move forward on the criminal case but needs to speak

friend to contact the ADA but he won't reply. CL asked if | would

role of a witness but not assure him of anything as | do not have that
knowledge myself.

KT s/w CL and discussed current criminal case. CL advised that the

with Cl's friend who she spent the night with. CL has asked her
friend to contact the ADA but he won't reply. CL asked if | would
reach out to explain the role of a witness and assure friend he wont
get in trouble. Advised CL that | could speak to her friend about the
role of a witness but not assure him of anything as 1 do not have that
knowledge myself.

KT rec'd email from CL advising that my VM is full and she can't
leave a message

 

| 2/24/2014

2/24/2014]

KT rec'd email from CL requesting | reach out to the ADA on the

Info-Legal

—

Follow Up

|Follow Up

Follow Up

 

case to inquire why they haven't moved forward

IKT rec'd email from CL requesting | reach out to the ADA on the
case to inquire why they haven't moved forward

info-Legal

 

 

9/24/2014

KT siw CL and discussed current criminal case. CL advised that the
ADA wants to move forward on the criminal case but needs to speak
with Cl's friend who she spent the night with. CL has asked her
friend to contact the ADA but he won't reply. CL asked if | would
reach out to explain the role of a witness and assure friend he wont
get in trouble. Advised CL that | could speak to her friend about the
role of a witness but not assure him of anything as | do not have that
knowledge myself.

Safety
Planning

 

 

 

t_ | /22/2015

KT called CL back - she

is on the pther line - will call me right back _|

Follow Up

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KT rec'd message from cl Follow Up __

 

 

 

CL called SPs direct line; CL claims to have been calling connect CL |Follow Up
lbut no one has gotten back to CL; SP explained to CL the
CONNECT protocol in terms of HL; SP apologize to CL with regards
belief that CONNECT had abadon her; SP explained changes
CONNECT is undergoing; SP discussed case with SM/CC; SP will
follow up with QVWW/SMiinterm attorney on-what to do next on the
case- CL wants records

G2

 

 

6/22/2015

GL called SPs direct line; CL claims to have been calling connect CL

but ne one has gotten back to CL; SP explained to CL the

CONNECT protocol in terms of HL; SP apologize to CL with regards

belief that CONNECT had abadon her; SP explained changes
ONNECT is undergoing; SP discussed case with SM/CC; SP will

lfollaw up with QVW/SMiinterm attomey on what to do next on the

se- CL wants records

Crisis
Counseling

 

  

 

6/22/201 5ICL called SPs direct line; CL claims fo have been calling connect CL

IGONNEGT is-uadergoing;SP. discussed.case.with-SM/CC;-SP will}

Info-Legal
Ibut no one has gotten back to CL; SP explained to CL the
ICONNEGT protocol in terms of HL; SP apologize to CL with regards
belief that CONNECT had abadon her; SP explained changes.

  
 
 

Hollow up with QW/SM/interm attorney on what to do next on the
icase- CL wants records

 

 

6/22/2015

"6/22/2015

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CL called SPs direct line; CL claims to have been calling connect CL
but no one has gotten back to CL; SP explained to CL the

CONNECT protocol in terms of HL; SP apologize to CL with regards
belief that CONNECT had abadon her; SP explained changes

PA-Other

 

CONNECT is undergoing; SP discussed case with SM/CC; SP will

 

ISM has held conversation about CL and what do to with case with jPA-Other

 

 

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follow up with QW/SM/interm attorney on what to do next on the |
case- CL wants records _ } |

CVTC staffmember - ced ct
 

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CIUMINAL COURT OF THE CITY OF NEW YORIC
COUNTY OF NEW YORK

JHE PEOPLE OF THE STATE OF NEW YORIK

  
    

MISDEMESNOR

-agairist-
Jtarni Baly @1 34),

Defendant

 

RSET OI SS

P.002
Pape Lot 2

Police O€Gcer Jessica Valle, Shield 298 of the 1st Peucincr, states as follows:

The defendant is charged with:
1 PL 140.10) Criminal Trespass in the Third Degree
(defendant #1: L.count)
= <9" PL 245.00 ~
. (defendant #121 coun)
3 PL 245.0) Exposure of a Person
MAE ss (deferidanc #isicovnQ

Paublickecacss—— oN

Oa or about Aptil 20, 2013 at shout 5:22 PML, at G4 Bulron Street in the Covnry
ana Stare of New York, the defendant knowingly eatered aad rentained nla folly in +

building and upon fea property which was fenced and otherwise enclosed in
desiymed to exclude is rraderg: fhe defendant intentionally exposed the private. p

a manner
irts of his

body in a lewd manne” and cofomirred a lewd actin a public place and in private premises in

which he might readily be abserved from a public place with inrear thar he be so

observed:

the defendant appeated in a public place in such 2 manner thar the private parts of his body

were exposed.

The fuctual basis for these charges art as follows:

Lam informed by Kniss Abbale, of an address known to the District

lAccorney'S

Office, chat tae inforrnanc lives jn an adjucenc building to the above location and that she

saw the defendant on top of the roof of above building buildizig looking into her

winiow with kis penis exposed and mani pulazing iti. an up and down manner.

apaitrnient

I arrested die defendant on the rooftep of the above building which isa location

beyond a posted sign that reads in part “Don Not Beter. Only Authorized Persons

The defencant proviled contradictory starements aad grated in sabstat
worked in the building luc chen stated that he did not live in che building and

only trying to do his Lanadey.

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hat he was

 
 

 

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__ NYPD 187 PCT P.003

Page 2 of 2

CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK

THE PEOPLE OF THE STATE OF NEW YORK

; MISDEMEANOR
-against-

Fai Baly (M1 34),.
Defendant. ;

 

False statements mudc in thie written inatrument ate punishable as 4 iclass A
misdemeanor pursuant to section 210.45 of the Penal Law, and as other crimes.

Ay Aa

Pole: Officer Jessica Walle

 

 

 

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RECORD OF COURT ACTION _

 

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- O OFD/Discovery O Bench Trial
Ss at 0 Possible Disposition 4 Jury Trial
ss 30. Beeision Dy Program
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sBU KY 1 Charged [01 Defendant | pofenda
Bail Condition Judge CO Excluded C Attomey. “Excused
Date : = TERI Apeenn ee Readings
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The People of the State of New York
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New York County KA i)
Misdemeanor Complaint : oH a8 |

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DEFENDANT: CHARGES: NOCKFT NUMBER:

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Noth coeds Served at Arraignment:
oo 740.30(1)(A) - Statement

CPL 710.30(1)(B) - Identification
C1 CPL 250.20 - Alibi
LJ PL 450.10(48 hrs /15 days) - Property
[] GPL 170.20 - Grand.Jury

(J Gross Grand Jury
(J OTHER:

 

2)-Lab-Repor/ Field-Test——
iE] DW) Paperwork
C1 Domestic incident

J Family’ R&distry ©

 

 

] Underlying T.O.P. Cl

Adjournment:

  

Part: Date:
Bail Condition;

yO oo

(Ins, Co. Bond) [ (ca sh)

( ART 730 Exam Ordered

CJ Protective Custody

(J Medical Attention

(CJ Psychiatric Evaluation

(] Suicide Watch

C1 Deemed an Information
Defense Mcticns Due:

(Other)

 

 

 

(J T.0.P. / F.O.P.

 

Disposition:

C ACD - CPL 170.55
LJ ACO - CPL 170.56
CJ Waives Prosecution by Information
and Pleads Guilty to
PL 240.20/
(1 Investigation & Sentence Ordered
C1 DNA -Eligible Misdemeanor
(1 ONA Sampie Taken

 

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Sentence (or Promise):

| days jall

Conditional Discharge:
__ Days Community Service
Days Jail Alternative
Other:

Mandatory Surcharge (and CVAF):

([} Judgment Entered - All Fees

CI $200 Misd. [1] $120 Viol. (1 $80 VTL”

C] $395 VTL1192 Misd.* [] $255 VTL1192(1) Infrac."
*(For offenses on or after August 1, 20GB)

[1] $50 - DNA Fee

 

 

 

 

 

 

Arresting Officer

Court Reporter

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JESSICA VALLE

 

 

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Judge:

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(J Medical Attention |
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Disposition:

C1 ACD - CPL 170.55
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Sentence (or Promise):
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Days Jail Alternative
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Mandatory Surcharge (and CVAF):
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(] $395 VTL1192 Misd.* 0 $255 VTL1192(1) Infrac.*
»(For offenses on or after August 1, 2008)

[] $50 - DNA Fee

 

 

 

 

 

 

 

Arresting Officer

Court Reporter

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Judge:

 

 

 

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----Orlginal Message—-—

From: Gracie [mailto:graciearacle212@amail.com}
Sent: Monday, July 28, 2014 1:10 PM

To: Pennington, Hannah (FJC)

Subject: RE:

Hannah;

I'm growing discontent day by day at the lack of services available to me as | have been blacklisted
from using the FJC.

Employment: despite attending the meeting at FEGS and providing my very solld employment
credentials to your contact @ FEGS I've never heard back from them about employment workshops,
job leads or follow up AT ALL.

HOUSING: the little raggedy SRO | moved into to stay off the streets has incurred ten violations from
the Housing Commission that include no heat-no hot water- gaping holes to sky In roof. | have had to
report my neighbor twice for assaults against my person. He is mad because | rebuff his sexual
advances. Its really a dangerous nightmare living here.

PUBLIC ASSISTANCE BENEFITS: my case has been closed ten times because HRA still has a
"General.dellyery” address for me in their system and {don’t get mail they send me about mandatory
recertification meetings et al. This Is odd because | receive housing assistance checks for my
Tandiord- HRA know the correct address- they just continue to’send mailto the “general delivery" ——
address at the post office on34th stl | have requested ten times this be updated but it still hasn't. Each
time my case ts closed | call the Fair Hearing office and they check and see that the letters have been
sent errantly and they reinstate my case and | have to wait additional weeks each tirne for my

benefits. This Is a ridicolous waste of everyones time and I need my benefits to survive. Without my
Asthma medication | cannot breathe and | cannot even affford the co pays as HRA keeps messing with
my cash assistance and cancelling my Medicaid.

PSYCHOLOGICAL SUPPORT: LET'S JUST SAY I'M COMPLETELY AND UTTERLY ALONE AND MY C-
PtSD is not improving with all these stresses and obstacles.

Please | need help. Its ridiculous that because a group of people within the MDAO made egregious
errors and illegal actions against me that | SHOULO STILL BE MADE TO SUFFER WHEN THERE IS
HELP AVAILABLE @ YOUR CENTER.

LAM A FOURTH GENERATION DAUGHTER OF THE CITY OF NEW YORK AND THIS TREATMENT BY
CARPET BAGGING OFFICIALS NOT FAMILIAR WITH THE COMPLEXITIES OF CITY LIFE SHOULD NOT
BE ALLOWED TO HOLD SWAY OVER RESOURCES THAT MY TAX DOLLARS AND MY FAMILY’S TAX
DOLLARS HAVE BEEN PAYING FOR FOR OVER A CENTURY AND A HALF.

I'm going to start being very vocal about this. Please I need help. There is no reason | should keep
being punished for the mistakes made by people on the payroll of the MDAO.

"Pennington, Hannah (FJC)” <HannahP @ficnyc.org> wrote:

> Sorry to hear that.
>
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Case 1:15-cv-05871-LAP Document 16-5 Filed 05/09/16 Page 18 of 55

>

> Hannah Pennington

> Executive Director

> NYC Family Justice Center, Manhattan

> Mayor's Office to Combat Domestic Violence

> 80 Centre Street, 5th Floor

> New York, NY 10013

> (242) 602-2828 Direct | (212) 602-2800 Main hannahp@fjcnyc.org |

> www, nyc.aov/domesticviolence
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